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UNITED STATES DISTRfCT COURT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLY FILED
------------------------------------------------------------------x   DOC#:, _ _ _ _,,--____
UNITED STATES OF AMERICA,


                  -against-                                            18 CR 799 (KMW)

                                                                              ORDER
WENXrN DUAN ,

                                           Defendant.
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         WHEREAS , with the defendant's consent, his guilty plea allocution was taken before a

Magistrate Judge on September 25 , 2020;

         WHEREAS , a transcript of the allocution was made and thereafter transmitted to the

District Court; and

         WHEREAS, upon review of the transcript, this Court has determined that the defendant

entered the guilty plea knowingly and voluntarily and that there is a factual basis for the guilty

plea,

        IT IS HEREBY ORDERED that the defendant' s guilty plea is accepted.



         SO ORDERED.


Dated: New York, New York
       November 9, 2020


                                                          . KIMBA M. WOOD
                                                      UNITED ST ATES DISTRICT JUDGE
